                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                         2021-NCCOA-268

                                          No. COA20-797

                                        Filed 15 June 2021

     Hyde County, No. 18 JA 6

     IN THE MATTER OF: K.P.

            Appeal by Appellant-Mother from an order entered 21 July 2020 by Judge

     Christopher B. McLendon in Hyde County District Court. Heard in the Court of

     Appeals 13 April 2021.


            J. Thomas Diepenbrock for Appellant.

            Rodman, Holscher, Peck &amp; Edwards, P.A., by Jacinta D. Jones for Hyde County
            Department of Social Services.

            Keith Karlsson for the Guardian ad Litem.


            ARROWOOD, Judge.


¶1          Appellant, the mother of K.P. (“Kenneth”),1 appeals from the trial court’s

     permanency planning order granting legal and physical custody of Kenneth to non-

     relative custodians. Appellant contends that the trial court erred by (1) eliminating

     reunification as a primary or secondary permanent plan without making required




     1 Pseudonyms are used throughout the opinion to protect the identity of the parties involved.



                                                    -1-
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     findings of fact; (2) failing to make findings of fact supported by competent evidence

     that each of the proposed custodians understood the legal significance of their

     appointment; and (3) ceasing further reviews without making proper findings. For

     the following reasons, we vacate and remand.

                                        I.         Background

¶2         Kenneth,    the   youngest         of    Appellant’s   four   children,   was   born

     13 December 2017. Prior to Hyde County Department of Social Services’ (“DSS”)

     involvement, Kenneth and his siblings resided with Appellant and her husband, “Mr.

     Phillips.” Mr. Phillips is the father of Kenneth’s three siblings and was initially

     believed to be Kenneth’s father.

¶3         On 17 March 2018, when Kenneth was three months old, Appellant and Mr.

     Phillips were involved in a domestic violence incident wherein Mr. Phillips returned

     home to find Appellant in bed with her paramour (“Mr. Keller”). Mr. Phillips “lunged”

     at Mr. Keller, who grabbed a nearby knife. Mr. Phillips took the knife from Mr. Keller

     and a physical altercation ensued, resulting in Mr. Keller being hospitalized.

     Kenneth and his siblings were present during the incident.             As a result of the

     altercation, Mr. Phillips was arrested and charged with assault with a deadly weapon

     with a minor present, assault with a deadly weapon, and assault inflicting serious

     injury.   Appellant, who had pending charges for resisting a public officer and

     probation violation, was also arrested and charged with simple assault. Before her
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     arrest, Appellant arranged for Kenneth to be placed with a maternal aunt.

¶4         On 21 March 2018, DSS obtained a nonsecure custody order of Kenneth. DSS

     subsequently filed a petition alleging Kenneth to be a neglected and dependent

     juvenile on 22 March 2018. Prior to filing the petition, DSS contacted Mr. Phillips

     who indicated that he was unsure if he could care for the children. Following a

     hearing on 27 March 2018, the court issued an order continuing nonsecure custody of

     Kenneth with DSS. During this time, Kenneth remained in the care of his maternal

     aunt until 22 May 2018, when the trial court ordered that Kenneth and his siblings

     be placed in the home of Mr. Phillips’ father and stepmother, “Mr. Phillips, Sr.” and

     “Mrs. Phillips,” respectively.

¶5         At a subsequent nonsecure custody hearing held on 8 August 2018, the district

     court found that there was an issue as to the paternity of Kenneth and ordered Mr.

     Phillips to take a DNA test. Notwithstanding the paternity issue, the district court

     maintained Kenneth’s placement with Mr. Phillips, Sr., and Mrs. Phillips. Test

     results later determined that Mr. Phillips was not Kenneth’s biological father.

     Appellant subsequently named Mr. Keller as a potential father. Mr. Keller was

     ordered to take a DNA test, which confirmed that Mr. Keller, not Mr. Phillips, was

     Kenneth’s biological father.

¶6         Thereafter, Kenneth was adjudicated neglected at an adjudication and

     disposition hearing on 10 December 2018. Appellant was ordered to participate in
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     substance abuse treatment, domestic violence counseling, and anger management

     classes. The court also ordered her to maintain stable housing, obtain a valid driver’s

     license and safe transportation, and attend visitation with her children.

¶7         Despite Mr. Phillips not being Kenneth’s father, Kenneth remained placed

     with Mr. Phillips, Sr., and Mrs. Phillips until 17 July 2019, when he was moved to

     the home of his half-siblings’ paternal step great-grandparents. During that time,

     the court held several permanency planning hearings in which it found that

     Appellant had completed parenting and anger management classes, admitted herself

     into an inpatient substance abuse treatment program, completed a substance abuse

     assessment, and maintained her sobriety.

¶8         In March 2019, Appellant resumed her romantic relationship with Mr.

     Phillips, and the two began residing with each other in April 2019 in a home that had

     “ample space for the parties’ children.” The couple later enrolled in family counseling.

     Following a permanency planning hearing on 20 August 2019, the court ordered that

     Kenneth begin trial home placement with Appellant and Mr. Phillips on

     20 September 2019.     The parties were scheduled to return to court for another

     permanency planning hearing on 10 December 2019. Moreover, at this point, the

     permanent plan for Kenneth remained the same as the court’s decree following the

     25 March 2019 permanency planning hearing: reunification with a concurrent plan

     of custody with a relative.
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¶9           On 25 October 2019, Appellant told her social worker that Mr. Phillips had

       been physically and verbally abusing her for approximately one month. Appellant

       also informed the social worker that she had concerns about Mr. Phillips using drugs

       and the possibility of eviction due to Mr. Phillips’ failure to pay rent. Upon further

       investigation, DSS determined that both Appellant and Mr. Phillips had been the

       perpetrators of the domestic discord at different times and that the juveniles were

       present during the altercations.    As a result of these findings, the court held a

       placement review hearing on 29 October 2019 and determined that it was in

       Kenneth’s and his siblings’ best interest to terminate the trial home placement.

       Kenneth was removed and placed in the home of his maternal aunt following the

       29 October 2019 hearing.     After the termination of the trial home placement,

       Appellant relocated to Virginia to live with her mother, and Kenneth was returned to

       the home of Mr. Phillips, Sr., and Mrs. Phillips.

¶ 10         On 13 January 2020, the court held another permanency planning hearing.

       With regard to Appellant’s circumstances, the court found that Appellant reported

       that she was working two jobs cleaning homes and delivering food, but she did not

       have a valid driver’s license. The court also found that despite Appellant reporting

       that her monthly income was approximately $1,200.00, she had not provided DSS or

       the juvenile’s placement with any financial assistance. Appellant also refused to

       submit to two hair follicle drug screens in October and December 2019.
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¶ 11         Regarding Mr. Keller, the court found that he had left his inpatient substance

       abuse treatment program and secured his own housing. The court noted that Mr.

       Keller planned to find larger housing in order to gain custody of Kenneth and that

       Mr. Keller reported securing outside employment. The court also found that Mr.

       Keller had admitted to daily marijuana use to deal with stress and anger issues.

       Following the hearing, the court changed the primary permanent plan to custody with

       a relative with concurrent plans of custody to a court-approved caretaker and

       reunification.

¶ 12         This matter appeared for a final permanency planning hearing on 3 June 2020

       in Hyde County Juvenile District Court. The trial court found that Appellant had

       refused another hair follicle drug test in January 2020, tested negative after

       submitting a hair follicle test in February 2020, and subsequently refused another

       drug screen in March 2020. The court also found that Appellant moved to Hertford,

       North Carolina to live with her sister in April 2020, continued to clean houses as a

       source of income, and obtained a valid driver’s license in May 2020. The district court

       acknowledged Appellant’s request that Kenneth “be returned to her immediately

       while she lives in Hertford.”

¶ 13         On 21 July 2020, the trial court entered an order granting legal and physical

       custody of Kenneth to Mr. Phillips, Sr., and Mrs. Phillips (the “Order”) with

       supervised visitation to Appellant. The district court ceased further reviews and
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       effectively ceased reunification efforts as there was no longer a permanent plan of

       reunification. The district court also released DSS, the Guardian ad Litem (the

       “GAL”), and the attorneys of record for Appellant from the matter. Lastly, the trial

       court determined that the primary permanent plan of custody had been achieved

       through the entry of the Order.

¶ 14         Appellant filed a timely notice of appeal of the Order on 18 August 2020.

                                          II.      Discussion

¶ 15         Appellant raises three arguments on appeal, asserting that the trial court

       erred by (1) eliminating reunification as a primary or secondary permanent plan

       without making required findings of fact; (2) failing to make findings of fact supported

       by competent evidence that each of the proposed custodians understood the legal

       significance of their appointment; and (3) ceasing further reviews without making

       proper findings. We address each argument in turn.

¶ 16         “ ‘Appellate review of a permanency planning order is limited to whether there

       is competent evidence in the record to support the findings and the findings support

       the conclusions of law.’ ” In re R.A.H., 182 N.C. App. 52, 57-58, 641 S.E.2d 404, 408
       (2007) (citation omitted) (quoting another source). “If the trial court’s findings of fact

       are supported by any competent evidence, they are conclusive on appeal.” In re P.O.,

       207 N.C. App. 35, 41, 698 S.E.2d 525, 530 (2010) (citation omitted). We review the

       district court’s conclusions of law de novo. Id. (citation omitted). Questions of
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       statutory interpretation are questions of law, which we also review de novo. In re

       P.A., 241 N.C. App. 53, 58, 772 S.E.2d 240, 245 (2015) (citation omitted). Lastly, we

       note that the trial court’s “failure to make statutorily-mandated findings constitutes

       reversible error.” In re D.C., __ N.C. App. __, __, 852 S.E.2d 694, 696 (2020) (citation

       omitted).

                                        A.      Reunification

¶ 17         Appellant contends that the trial court erred by eliminating reunification as a

       primary or secondary permanent plan without first making required findings of fact,

       particularly that reunification efforts clearly would be unsuccessful or would be

       inconsistent with the juvenile’s health or safety in accordance with N.C. Gen. Stat. §

       7B-906.2(b). We agree.

¶ 18         Section 7B-906.2(b) of our General Statutes provides, in part, the following:

                    At any permanency planning hearing, the court shall adopt
                    concurrent permanent plans and shall identify the primary
                    plan and secondary plan. Reunification shall be a primary
                    or secondary plan unless the court made findings under
                    G.S. 7B-901(c) or G.S. 7B-906.1(d)(3), the permanent plan
                    is or has been achieved in accordance with subsection (a1)
                    of this section, or the court makes written findings that
                    reunification efforts clearly would be unsuccessful or would
                    be inconsistent with the juvenile’s health or safety.

       N.C. Gen. Stat. § 7B-906.2(b) (2019). In turn, subsections 7B-906.2(d)(1)-(4) of the

       Juvenile Code read as follows:

                    At any permanency planning hearing under subsections (b)
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             and (c) of this section, the court shall make written findings
             as to each of the following, which shall demonstrate the
             degree of success or failure toward reunification:

                (1) Whether the parent is making adequate progress
                    within a reasonable period of time under the plan.

                (2) Whether the parent is actively participating in or
                    cooperating with the plan, the department, and the
                    guardian ad litem for the juvenile.

                (3) Whether the parent remains available to the court,
                    the department, and the guardian ad litem for the
                    juvenile.

                (4) Whether the parent is acting in a manner
                    inconsistent with the health or safety of the juvenile.

N.C. Gen. Stat. § 7B-906.2(d)(1)-(4). This Court has made clear that when a district

court eliminates reunification as either a primary or secondary permanent plan, it

must make findings pursuant to both N.C. Gen. Stat. §§ 7B-906.2(b) and (d). See

generally Matter of K.L., 254 N.C. App. 269, 280, 802 S.E.2d 588, 595 (2017). These

requirements are coupled with the obligation codified in N.C. Gen. Stat. § 7B-

906.1(d)(3), which states, in pertinent part, that, “At each hearing, the court shall

consider the following criteria and make written findings regarding those that are

relevant . . . [including] [w]hether efforts to reunite the juvenile with either parent

clearly would be unsuccessful or inconsistent with the juvenile’s health or safety and

need for a safe, permanent home within a reasonable period of time.” N.C. Gen. Stat.

§ 7B-906.1(d)(3) (2019).
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¶ 19         Here, following the 3 June 2020 permanency planning hearing, the court

       determined that it was in Kenneth’s best interest to be placed in the custody of Mr.

       Phillips, Sr., and Mrs. Phillips and that awarding custody of Kenneth to the couple

       would achieve the primary permanent plan of custody to a relative. However, in the

       3 April 2020 permanency planning order, the district court ordered a primary

       permanent plan of custody to a relative with concurrent permanent plans of custody

       to a court-approved caretaker and also required reunification.        To subsequently

       remove reunification as a concurrent permanent plan requires properly admitted

       evidence to support findings of fact to allow the court to conclude “efforts to reunite

       the juvenile with either parent clearly would be unsuccessful or inconsistent with the

       juvenile’s health or safety and need for a safe, permanent home within a reasonable

       period of time.” See N.C. Gen. Stat. § 7B-906.1(d)(3); see also Matter of K.L., 254 N.C.

       App. at 275, 802 S.E.2d at 592. In addition, because the trial court implicitly ceased

       reunification efforts and omitted reunification from the permanent plan, it was

       required to satisfy N.C. Gen. Stat. § 7B-906.2(b). Matter of D.C., __ N.C. App. at __,

       852 S.E.2d at 697. Thus, without making proper findings of fact based on competent

       evidence pursuant to the aforesaid statutory provisions, the trial court erred by

       effectively ceasing reunification efforts in the Order.

¶ 20         DSS and the GAL argue, however, that reunification need not have been a

       primary or secondary plan because the permanent plan had been achieved. The
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       3 April 2020 order states that “[t]he primary permanent plan for the juvenile shall be

       custody to a relative with concurrent permanent plans of custody to a court-approved

       caretaker and reunification.” (emphasis added) Following the 3 June 2020 final

       permanency planning hearing, the district court concluded that the “primary

       permanent plan for the juvenile . . . ha[d] been achieved through the entry of th[e]

       [O]rder.” The trial court’s findings of fact do not support this conclusion; in fact, the

       district court’s findings directly refute it. The “primary permanent plan” for Kenneth

       was custody with a “relative.” As noted above, after the 3 June 2020 hearing, the

       trial court awarded legal and physical custody to non-relatives Mr. Phillips, Sr., and

       Mrs. Phillips.2 Thus it is implausible to conclude that the primary permanent plan

       had been achieved as the juvenile was placed in the custody of persons without any

       biological connection to Kenneth.

¶ 21         Moreover, the 3 April 2020 order suffers the same defect as the Order—it fails

       to address the ultimate question of whether reunification would be unsuccessful or

       inconsistent with Kenneth’s safety. Because the trial court ceased reunification

       efforts without making sufficient findings pertinent to N.C. Gen. Stat. § 7B-906.2(d)

       and the ultimate findings required by N.C. Gen. Stat. §§ 7B-906.2(b) and 7B-

       906.1(d)(3), and because the trial court erroneously concluded that the primary



       2Because Mr. Phillips is not Kenneth’s biological father, neither Mrs. Phillips nor Mr.
       Phillips, Sr., are “relatives.”
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       permanent plan had been achieved through entry of the Order, we vacate and remand

       for further proceedings. See Matter of D.A., 258 N.C. App. 247, 254, 811 S.E.2d 729,

       734 (2018) (vacating order ceasing reunification efforts due to trial court’s failure to

       include findings embracing the requisite ultimate question of whether reunification

       efforts clearly would be unsuccessful or would be inconsistent with the juvenile’s

       health or safety); cf. In re C.M., 183 N.C. App. 207, 213, 644 S.E.2d 588, 594 (2007)

       (“This Court reviews an order that ceases reunification efforts to determine whether

       the trial court made appropriate findings, whether the findings are based upon

       credible evidence, whether the findings of fact support the trial court’s conclusions,

       and whether the trial court abused its discretion with respect to disposition.”).

                                         B.     Verification

¶ 22         Next, Appellant asserts that the trial court erred when it failed to make

       findings of fact supported by competent evidence that each of the proposed custodians

       (Mr. Phillips, Sr., and Mrs. Phillips) understood the legal significance of Kenneth’s

       placement in their care. We agree and conclude that the trial court failed to fulfill its

       statutory obligation to verify that Mr. Phillips, Sr., and Mrs. Phillips (non-parents

       and non-relatives) understood the legal significance of their appointment as

       Kenneth’s custodians. Section 7B-906.1(j) of our Juvenile Code states the following:

                    If the court determines that the juvenile shall be placed in
                    the custody of an individual other than a parent or appoints
                    an individual guardian of the person pursuant to G.S. 7B-
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                    600, the court shall verify that the person receiving custody
                    or being appointed as guardian of the juvenile understands
                    the legal significance of the placement or appointment and
                    will have adequate resources to care appropriately for the
                    juvenile.

       N.C. Gen. Stat. § 7B-906.1(j).     DSS and the GAL argue that this verification

       requirement was met in light of testimony from a DSS social worker and Mr. Phillips,

       Sr. We disagree.

¶ 23         This Court has explained “that N.C. Gen. Stat. § 7B-906.1(j) does not require

       the trial court to ‘make any specific findings in order to make the verification.’ ”

       Matter of J.D.M.-J., 260 N.C. App. 56, 65, 817 S.E.2d 755, 761 (2018) (citation

       omitted) (quoting another source). “However, we have made clear that the record

       must show the trial court received and considered reliable evidence that the guardian

       or custodian had adequate resources and understood the legal significance of custody

       or guardianship.” Id. (citations omitted). In the Matter of J.D.M.-J., this Court

       vacated the award of custody because neither of the custodians testified at the

       permanency planning hearing and because no evidence was offered by DSS

       confirming that the custodians understood the legal significance of assuming custody

       of the juveniles. Id. at 260 N.C. App. at 68, 817 S.E.2d at 757. Here, Mrs. Phillips

       did not testify at the final permanency planning hearing, and testimony elicited from

       Mr. Phillips, Sr., did not demonstrate that he understood the legal significance of

       Kenneth’s placement nor that the couple had the adequate resources to care
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       appropriately for the juvenile.       During the 3 June 2020 permanency planning

       hearing, a DSS social worker testified as follows:

                     Q: And have [Mr. Phillips, Sr., and Mrs. Phillips]
                        expressed a desire to accept legal custody of [Kenneth]?

                     A: Yes, they have.

       Mr. Phillips, Sr., in turn, testified to the following:

                     Q: And do you recall having conversations with the
                        Department regarding taking custody of [Kenneth]?

                     A: Yes, ma’am.

                     Q: And are you and your wife willing to do that at this
                        time?

                     A. Yes, ma’am.

                     Q: And are you and your wife willing to provide
                        permanence for [Kenneth] through a custody order?

                     A: Yes, ma’am

       As demonstrated above, Mr. Phillips, Sr., simply stated that he was willing to take

       custody of Kenneth. This testimony, even when coupled with the social worker’s

       testimony that Mr. Phillips, Sr., and Mrs. Phillips “expressed a desire to accept legal

       custody” of Kenneth is insufficient to satisfy N.C. Gen. Stat. § 7B-906.1(j).

¶ 24          In short, neither the record at a whole nor the district court’s findings of fact

       support the conclusion that Kenneth’s custodians understood the legal significance of

       the placement or that they would have the adequate resources to care appropriately
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       for the juvenile. Indeed, the Order is devoid of any mention of the matter. For these

       reasons, we vacate and remand for further evidentiary findings pursuant to N.C. Gen.

       Stat. § 7B-906.1(j). See In re L.M., 238 N.C. App. 345, 348, 767 S.E.2d 430, 433 (2014)

       (concluding that evidence did not support a finding that the other potential guardian

       understood the legal significance of guardianship where she did not testify, sign a

       guardianship agreement, or otherwise demonstrate that she had accepted

       responsibility for the child); see also Matter of E.M., 249 N.C. App. 44, 55, 790 S.E.2d

       863, 872 (2016) (vacating award of legal custody and remanding where record was

       devoid of evidence indicating that custodian couple understood the legal significance

       of the juvenile’s placement: “Here, the husband in the custodial couple did not testify,

       and there is no evidence to indicate that he understood the legal significance of taking

       custody of [juvenile]. Further, although his wife testified at the hearing, she never

       testified regarding her understanding of the legal relationship, and the court never

       examined her to determine whether she understands the legal significance of the

       relationship.”).

                           C.     Cessation of Further Review Hearings

¶ 25         Appellant’s final challenge is that because the Order provided that “[t]here

       shall be no further reviews of this matter[,]” the district court was statutorily obliged

       to make the required relevant findings of fact pursuant to N.C. Gen. Stat. § 7B-

       906.1(n). Because the district court failed to do so, Appellant assigns error to this
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       portion of the Order, as well. DSS and the GAL concede this error on appeal.

¶ 26         “Review hearings after the initial permanency planning hearing shall be

       designated as permanency planning hearings.”             N.C. Gen. Stat. § 7B-906.1(a).

       Generally, “[p]ermanency planning hearings shall be held at least every six months

       thereafter or earlier as set by the court to review the progress made in finalizing the

       permanent plan for the juvenile, or if necessary, to make a new permanent plan for

       the juvenile.” Id. In addition, N.C. Gen. Stat. § 7B-906.1(n) reads as follows:

                    Notwithstanding other provisions of this Article, the court
                    may waive the holding of hearings required by this section,
                    may require written reports to the court by the agency or
                    person holding custody in lieu of review hearings, or order
                    that review hearings be held less often than every six
                    months if the court finds by clear, cogent, and convincing
                    evidence each of the following:

                       (1) The juvenile has resided in the placement for a
                           period of at least one year or the juvenile has resided
                           in the placement for at least six consecutive months
                           and the court enters a consent order pursuant to
                           G.S. 7B-801(b1).

                       (2) The placement is stable and continuation of the
                           placement is in the juvenile’s best interests.

                       (3) Neither the juvenile’s best interests nor the rights of
                           any party require that review hearings be held every
                           six months.

                       (4) All parties are aware that the matter may be
                           brought before the court for review at any time by
                           the filing of a motion for review or on the court’s own
                           motion.
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                       (5) The court order has designated the relative or other
                           suitable person as the juvenile’s permanent
                           custodian or guardian of the person.

       N.C. Gen. Stat. § 7B-906.1(n).

¶ 27         “Our statutes and cases require the trial court to address all five criteria, make

       findings of fact to support its conclusion, and hold its failure to do so is reversible

       error.” Matter of K.L., 254 N.C. App. at 284, 802 S.E.2d at 598 (citations omitted).

       DSS and the GAL concede that the trial court failed to comply with the mandatory

       provisions of this statute. This uncontested error provides an additional, disjunctive

       reason to vacate the Order.

                                         III.   Conclusion

¶ 28         For the foregoing reasons, we vacate the district court’s 21 July 2020

       permanency planning order and remand for further findings consistent with this

       opinion.

       VACATED AND REMANDED.

             Chief Judge STROUD concurs

             Judge JACKSON concurs in part and dissents in part.
        No. COA20-797 – In re K.P.


             JACKSON, Judge, concurring in part and dissenting in part.


¶ 29         I join the portion of the majority’s opinion holding that the trial court’s order

       failed to comply with the mandatory making of findings of fact pursuant to N.C. Gen.

       Stat. § 7B-906.1(n) before concluding that there should be no further reviews of the

       matter, as DSS and the GAL concede. However, I respectfully dissent from the

       portions of the majority opinion concerning reunification and verification.

¶ 30         The majority opinion does a good job of listing out the relevant facts contained

       in the record with one exception: that Kenneth was thriving in his current placement

       and received appropriate care and supervision, and that Mr. Phillips Sr. and Mrs.

       Phillips had demonstrated a commitment to serving as a permanent placement for

       the child.

                                          I.   Analysis

¶ 31         Generally, “[t]his Court reviews an order that ceases reunification efforts to

       determine whether the trial court made appropriate findings, whether the findings

       are based upon credible evidence, whether the findings of fact support the trial court’s

       conclusions, and whether the trial court abused its discretion with respect to

       disposition.” In re C.M., 183 N.C. App. 207, 213, 644 S.E.2d 588, 594 (2007). “An

       abuse of discretion occurs when the trial court’s ruling is so arbitrary that it could

       not have been the result of a reasoned decision.” In re N.G., 186 N.C. App. 1, 10-11,



                                                   - 18 -
                                              In re K.P.

                                            2021-NCCOA-268

                         JACKSON, J., concurring in part and dissenting in part.



       650 S.E.2d 45, 51 (2007) (internal marks and citations omitted), aff’d per curiam, 362

       N.C. 229, 657 S.E.2d 355 (2008). “The trial court’s conclusions of law are reviewed de

       novo on appeal.” In re K.L., 254 N.C. App. 269, 272-73, 802 S.E.2d 588, 591 (2017).

       “The failure to make statutorily-mandated findings constitutes reversible error.” In

       re D.C., 852 S.E.2d 694, 696 (N.C. Ct. App. 2020).

       A. Cessation of Reunification

¶ 32         Respondent contends that the trial court was required to make written

       findings that reunification efforts clearly would be unsuccessful or would be

       inconsistent with the juvenile’s health or safety in accordance with N.C. Gen. Stat.

       § 7B-906.2(b). The majority agrees and additionally finds that the trial court failed

       to include findings that correspond with the requirements of N.C. Gen. Stat. § 7B-

       906.2(d). DSS and the GAL, on the other hand, argue that the court was not required

       to make findings pursuant to § 7B-906.2(b), because the court found that the primary

       permanent plan was achieved by entry of the 3 June 2020 order. I agree with DSS

       and the GAL that the trial court’s order fully complied with § 7B-906.2(b) and further

       agree with Respondent that the order includes sufficient findings that correspond to

       the requirements of § 7B-906.2(d).

¶ 33         Section 7B-906.2(b) of the North Carolina General Statutes provides that

                    [r]eunification shall be a primary or secondary plan unless
                    the court made findings under G.S. 7B-901(c) or G.S. 7B-
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                                           2021-NCCOA-268

                         JACKSON, J., concurring in part and dissenting in part.



                    906.1(d)(3), the permanent plan is or has been achieved in
                    accordance with subsection (a1) of this section, or the court
                    makes written findings that reunification efforts clearly
                    would be unsuccessful or would be inconsistent with the
                    juvenile’s health or safety.

       N.C. Gen. Stat. § 7B-906.2(b) (2019) (emphasis added).

¶ 34         This Court has recognized that “or” signifies an option in the statute. See In

       re D.C., 852 S.E.2d at 697. Thus, reunification shall be a primary or secondary plan

       unless one of three circumstances exist: (1) the court made findings under N.C. Gen.

       Stat. §§ 7B-901(c) or 7B-906.1(d)(3); (2) the permanent plan is or has been achieved;

       or (3) the court makes written findings that reunification efforts clearly would be

       unsuccessful. N.C. Gen. Stat. § 7B-906.2(b) (2019).

¶ 35         Circumstance two, as outlined in the statute, is relevant here and provides that

       the court may cease reunification efforts if “the permanent plan is or has been

       achieved in accordance with subsection (a1) of this section[.]” N.C. Gen. Stat. § 7B-

       906.2(b) (2019). To that end, subsection (a1) provides that “[c]oncurrent planning

       shall continue until a permanent plan is or has been achieved.” Id. § 7B-906.2(a1).

       In interpreting this portion of the statute, our Court has previously held, in an

       unpublished opinion, that “under § 7B-906.2(a1), reunification efforts may be ceased

       simply upon completion of one of the juvenile’s permanent plans—and consequently,

       that completion of a permanent plan means that no specific factual findings are
                                                In re K.P.

                                             2021-NCCOA-268

                           JACKSON, J., concurring in part and dissenting in part.



       required under § 7B-906.2(b).” In re E.Y.B. &amp; G., 2021-NCCOA-64, 2021 N.C. App.

       LEXIS 209, at *55 (2021).

¶ 36          Here, after the first permanency planning hearing on 25 March 2019, Kenneth

       was assigned a primary permanent plan of reunification, with a concurrent plan of

       custody with a relative. In a subsequent permanency planning hearing on 20 August

       2019, the permanent plan remained the same.               Following the 13 January 2020

       permanency planning hearing, however, Kenneth was assigned a primary permanent

       plan of custody to a relative, with a concurrent permanent plan of custody to a court-

       approved caretaker and reunification. Finally, during the 3 June 2020 permanency

       planning hearing, the court determined that it was in Kenneth’s best interest to be

       placed in the custody of Mr. Phillips Sr. and Mrs. Phillips, and that awarding custody

       of Kenneth to the couple would achieve the primary plan of custody to a court-

       approved caretaker.3


              3  The majority contends that it was implausible to grant non-relative custody of
       Kenneth when the court had previously determined in a prior permanency planning hearing
       that the primary plan for Kenneth was custody to a relative. However, the majority overlooks
       failed attempts by the court to place Kenneth with his parents and relatives. Specifically,
       the court arranged for a home placement with Respondent, which lasted for approximately
       two months. Thereafter, the court removed Kenneth due to abuse in Respondent’s household
       and placed him with his maternal aunt. Kenneth remained with his aunt for approximately
       one month before the court ordered that Kenneth be placed with Mr. Phillips Sr. and Mrs.
       Phillips. Kenneth’s biological father also expressed his consent to Kenneth being placed in
       the legal and physical custody of the Phillips and believes their home is appropriate. Thus,
       given the history of this case, and the discretion given to courts to adopt a permanent plan
                                                 In re K.P.

                                              2021-NCCOA-268

                            JACKSON, J., concurring in part and dissenting in part.



¶ 37          In making its decision, the trial court considered a number of factors, including

       “[w]hether efforts to reunite the juvenile with either parent would be unsuccessful or

       inconsistent with the juvenile’s health or safety and need for a safe, permanent home

       within a reasonable time.” N.C. Gen. Stat. § 7B-906.1(d)(3) (2019). Specifically, the

       trial court found:

                     a. The juvenile is currently placed in the home of paternal
                     step-grandfather and step-grandmother[.] . . . He has been
                     in the [Phillips Sr.] home since November 1, 2019, but was
                     also previously placed in their home prior to Respondent-
                     Mother beginning a trial home placement in August 2019.
                     The juvenile is receiving appropriate care in his current
                     placement and is in the least restrictive, most family-like
                     setting available to him.

                     b. The present risk of harm to the juvenile if returned [to]
                     either of the [R]espondent parents’ homes is high.
                     Respondent-[F]ather continues to struggle with substance
                     abuse issues despite obtaining stable housing and
                     employment.       Respondent-Mother continues to have
                     instability of housing and employment. She has not been
                     compliant with all requests for random drug screens. It is
                     not possible for the juvenile to be returned to the home of
                     either parent immediately, not is it possible that the
                     juvenile could be returned to the home of either parent
                     within the next six (6) months.

                     c. While these placement [sic] was determined based upon
                     the needs of the juvenile and factors concerning the
                     juvenile’s health and welfare, the circumstances are such
                     that they should continue as previously established until a


       in the juvenile’s best interest, it was not implausible for the court to change the permanent
       plan from custody with a relative to custody by an approved caretaker.
                                                 In re K.P.

                                              2021-NCCOA-268

                            JACKSON, J., concurring in part and dissenting in part.



                     permanent plan is achieved.

¶ 38          Thus, by awarding custody of Kenneth to court-approved caretakers, Mr.

       Phillips Sr. and Mrs. Phillips, and achieving Kenneth’s permanent plan in accordance

       with § 7B-906.2(a1), the trial court was not required to also find that reunification

       efforts clearly would be unsuccessful or would be inconsistent with Kenneth’s health

       or safety pursuant to § 7B-906.2(b).4 Accordingly, the trial court’s order satisfied

       § 7B-906.2(b) and no additional findings were required.

¶ 39          By eliminating reunification as the primary or secondary permanent plan, the

       court was required to also make findings pursuant to of N.C. Gen. Stat. § 7B-906.2(d).

       In re K.L., 254 N.C. App. 269, 280-282, 802 S.E.2d 588, 595-596 (2017). N.C. Gen.

       Stat. § 7B-906.2(d) provides:

                     At any permanency planning hearing under subsections (b)
                     and (c) of this section, the court shall make written findings
                     as to each of the following, which shall demonstrate the
                     degree of success or failure toward reunification:

                           (1) Whether the parent is making adequate progress
                     within a reasonable period of time under the plan.

                           (2) Whether the parent is actively participating in or
                     cooperating with the plan, the department, and the
                     guardian ad litem for the juvenile.


              4 Although the court was not required to make findings that efforts to reunite Kenneth

       with his parents would be unsuccessful or inconsistent with Kenneth’s health or safety
       pursuant to § 7B-906.2(b), the court did, in fact, address this factor—satisfying § 906.1(d)(3),
       contrary to the majority’s conclusion.
                                                In re K.P.

                                             2021-NCCOA-268

                           JACKSON, J., concurring in part and dissenting in part.



                            (3) Whether the parent remains available to the
                     court, the department, and the guardian ad litem for the
                     juvenile.

                           (4) Whether the parent is acting in a manner
                     inconsistent with the health or safety of the juvenile.

       N.C. Gen. Stat. § 7B-906.2(d) (2019).

¶ 40          While Respondent concedes that the order includes findings that correspond to

       § 7B-906.2(d), the majority found that said findings were omitted from the order. The

       trial court did, however, make sufficient findings pertinent to § 7B-906.2(d). Below,

       the language from the statute is compared side-by-side with the corresponding

       findings of fact from the trial court’s order (in italics):

              (1) Whether the parent is making        Respondent-Father continues to
        adequate progress within a reasonable struggle with substance abuse issues
        period of time under the plan.         despite obtaining stable housing and
                                               employment.             Respondent-Mother
                                               continues to have instability of housing
                                               and employment. She had not been
                                               compliant with all requests for random
                                               drug screens . . . Neither parent has made
                                               sufficient progress in a reasonable period
                                               of time such that the juvenile can be
                                               returned to them immediately or within
                                               the next six (6) months.

               (2) Whether the parent is actively        The respondent parents have
        participating in or cooperating with the attended services but they have been
        plan, the department, and the guardian unable to demonstrate changes such that
        ad litem for the juvenile.                they can immediately care for the
                                                  juvenile,
                                                In re K.P.

                                             2021-NCCOA-268

                           JACKSON, J., concurring in part and dissenting in part.



              (3) Whether the parent remains          The     parents    are   generally
        available to the court, the department, available to the Court, DSS, or the GAL
        and the guardian ad litem for the to work their case plan
        juvenile.

               (4) Whether the parent is acting        The respondent parents have
        in a manner inconsistent with the health acted inconsistent with the juveniles’
        or safety of the juvenile.               health and safety.5




¶ 41          I believe this chart demonstrates that the trial court’s order contained all the

       key factors from § 7B-906.2(d), even though the majority holds otherwise.

       Accordingly, the trial court’s order also satisfied § 7B-906.2(d). Thus, I would affirm

       the trial court’s order on the issue of reunification.

       B. Verifying Legal Significance and Adequate Resources

¶ 42          Next, Respondent asserts that because the trial court placed Kenneth in the

       custody of Mr. Phillips Sr. and Mrs. Phillips, non-parents, the court was required to

       verify that the couple understood the legal significance of the placement.               The

       majority agrees and concludes the trial court failed to do this properly, adding that

       the trial court also failed to verify that the guardians had adequate resources to care

       for Kenneth. This argument, however, is unavailing because testimony from the




              5 In support of this finding, the trial court detailed the progress and shortcomings of

       each parent in the order.
                                                 In re K.P.

                                              2021-NCCOA-268

                            JACKSON, J., concurring in part and dissenting in part.



       social worker and Mr. Phillips Sr. demonstrates that the couple understood the legal

       significance of the appointment, and Kenneth’s stable placement with Mr. Phillips

       Sr. and Mrs. Phillips for seven consecutive months demonstrates the couple had

       adequate resources to care for Kenneth.

¶ 43         Section 7B-906.1(j) provides:

                    [i]f the court determines that the juvenile shall be placed
                    in the custody of an individual other than a parent or
                    appoints an individual guardian of the person pursuant to
                    G.S. 7B-600, the court shall verify that the person receiving
                    custody or being appointed as guardian of the juvenile
                    understands the legal significance of the placement or
                    appointment and will have adequate resources to care
                    appropriately for the juvenile. The fact that the prospective
                    custodian or guardian has provided a stable placement for
                    the juvenile for at least six consecutive months is evidence
                    that the person has adequate resources.

       N.C. Gen. Stat. § 7B-906.1(j) (2019) (emphasis added).

¶ 44         Our Court has explained

                    that N.C. Gen. Stat. § 7B-906.1(j) does not require the trial
                    court to make any specific findings in order to make the
                    verification. However, we have made clear that the record
                    must show the trial court received and considered reliable
                    evidence that the guardian or custodian had adequate
                    resources and understood the legal significance of custody
                    or guardianship.

       In re J.D.M.-J., 260 N.C. App. 56, 65, 817 S.E.2d 755, 761 (2018) (internal marks and

       citation omitted).

                    Evidence sufficient to support a factual finding that a
                                                In re K.P.

                                             2021-NCCOA-268

                           JACKSON, J., concurring in part and dissenting in part.



                     potential guardian understands the legal significance of
                     guardianship can include, inter alia, testimony from the
                     potential guardian of a desire to take guardianship of the
                     child, the signing of a guardianship agreement
                     acknowledging an understanding of the legal relationship,
                     and testimony from a social worker that the potential
                     guardian was willing to assume legal guardianship.

       Id. at 68, 817 S.E.2d at 763.

¶ 45          Here, during the 3 June 2020 permanency planning hearing, the social worker

       testified as follows:

                     Q: And have [Mr. Phillips Sr. and Mrs. Phillips] expressed
                     a desire to accept legal custody of [Kenneth]?

                     A: Yes, they have.

¶ 46          Mr. Phillips Sr. also testified as follows:

                     Q: And do you recall having conversations with the
                     Department regarding taking custody of [Kenneth]?

                     A: Yes, ma’am.

                     Q: And are you and your wife willing to do that at this
                     time?

                     A: Yes, ma’am.

                     Q:  And are you and your wife willing to provide
                     permanence for [Kenneth] through a custody order?

                     A: Yes, ma’am

¶ 47          The testimony of Mr. Phillips Sr., coupled with the testimony from the social

       worker, demonstrate that Mr. Phillips Sr. and Mrs. Phillip understood the legal
                                               In re K.P.

                                             2021-NCCOA-268

                          JACKSON, J., concurring in part and dissenting in part.



       significance of the appointment—as both the social worker and Mr. Phillips Sr.

       testified as to the couple’s understanding of the appointment. Mrs. Phillips was not

       required to testify—indeed, Mr. Phillips Sr. was not required to testify either, as a

       social worker’s testimony regarding a caretaker’s understanding, alone, is sufficient

       evidence to support a factual finding that a potential guardian understands the legal

       significance of the appointment. See In re J.D.M.-J., 260 N.C. App. at 68, 817 S.E.2d

       at 763 (emphasizing that testimony from a social worker that the potential guardian

       was willing to assume legal guardianship is sufficient evidence to support a factual

       finding that a potential guardian understands the legal significance of the

       guardianship); See also N.C. Gen. Stat. § 7B-906.1(c) (2019) (“The court may consider

       any evidence, including hearsay evidence . . . that the court finds to be relevant,

       reliable, and necessary to determine the needs of the juvenile and the most

       appropriate disposition.”).

¶ 48         Because the court was not required to make specific findings regarding the

       couple’s understanding, and the record contained testimony from the social worker

       and Mr. Phillips Sr. acknowledging the couple’s understanding of the legal

       significance of custody, I believe the court properly verified that Mr. Phillips Sr. and

       Mrs. Phillips understood the legal significance of their appointment in compliance

       with N.C. Gen. Stat. § 7B-906.1(j).
                                               In re K.P.

                                            2021-NCCOA-268

                          JACKSON, J., concurring in part and dissenting in part.



¶ 49         The majority also finds that the trial court failed to determine if Mr. Phillips

       Sr. and Mrs. Phillips possessed adequate resources to care appropriately for the

       juvenile. In making this determination, the majority omits the last sentence of N.C.

       Gen. Stat. § 7B-906.1(j), which provides that “[t]he fact that the prospective custodian

       or guardian has provided a stable placement for the juvenile for at least six

       consecutive months is evidence that the person has adequate resources.” N.C. Gen.

       Stat. § 7B-906.1(j) (2019).

¶ 50         Here, prior to the 3 June 2020 permanency planning hearing, Kenneth had

       resided with Mr. Phillips Sr. and Mrs. Phillips for seven consecutive months

       (beginning 1 November 2019), after the court had terminated Respondent’s trial home

       placement. During Kenneth’s time with the Phillips, the court found that Kenneth

       was “receiving appropriate care in his current placement and [wa]s in the least

       restrictive, most family-like setting available to him.”            Moreover, during the

       permanency planning hearing, Mr. Phillips Sr. provided the following testimony

       regarding his finances:

                    Q: And if I may ask, Mr. Phelps, what is an estimate of
                    your annual salary?

                    A: It depends year to year. I think last year was fifty-six,
                    I think, something like that.

                    Q: And since having [Kenneth] in your home, have you and
                    your wife experienced any difficulty in financially caring
                                                  In re K.P.

                                                2021-NCCOA-268

                           JACKSON, J., concurring in part and dissenting in part.



                     for him?

                     A: No.

                     Q: Do you anticipate having any financial difficulty in
                     continued care of [Kenneth]?

                     A: No; no, ma’am.

                     Q: And have you been caring for [Kenneth] without any
                     substantial financial contributions from the parents?

                     A: No.

                     Q: No contributions?

                     A: No.

¶ 51          Again, the trial court was not required to make specific findings regarding the

       Phillips’ ability to provide adequate resources. Indeed, the record demonstrated that

       Kenneth retained a stable placement with the Phillips for at least six consecutive

       months—establishing that the couple possessed adequate resources to care for

       Kenneth—and Mr. Phillips Sr. was gainfully employed with resources to support

       Kenneth, without any help from Respondent or Kenneth’s biological father. See N.C.

       Gen. Stat. § 7B-906.1(j) (2019). Thus, I would affirm the trial court’s order on this

       issue of verification.

                                          II.     Conclusion

¶ 52          Altogether, the trial court did not err in eliminating reunification as a primary

       or secondary permanent plan, because the order contained all the statutorily required
                                       In re K.P.

                                    2021-NCCOA-268

                  JACKSON, J., concurring in part and dissenting in part.



findings of fact. Moreover, the court did not err in placing Kenneth with Mr. Phillips

Sr. and Mrs. Phillips because testimony in the record revealed that the couple

understood the legal significance of their appointment and possessed adequate

resources to care for Kenneth. Because the majority has concluded otherwise on both

issues, I respectfully dissent as to the Court’s holdings on reunification and

verification.
